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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


DONNA CURLING, et al.,
Plaintiffs,
                                                CIVIL ACTION FILE NO.:
v.                                              1:17-cv-2989-AT

BRAD RAFFENSPERGER, et al.,
Defendants.

                     DECLARATION OF B. JOY WASSON

       B. JOY WASSON hereby declares under penalty of perjury, pursuant to 28

U.S.C. § 1746, that the following is true and correct:

      1.      I have personal knowledge of the facts stated in this declaration, and

if called to testify, I could and would testify competently thereto.

      2.      I am a registered Georgia voter residing in the City of Atlanta,

DeKalb County’s Commission District 2. I typically vote in all elections I’m

eligible to participate in and intend to continue doing so.

      3.      I am a very active member of Coalition for Good Governance

(“CGG”) and am in daily contact with other active members on a range of national

and Georgia election administration and security topics.
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      4.     Recently I was asked to do some research after the Defendants

submitted this statement (SMF23): “In 2020, BMDs that print barcodes were used

in six of the ten largest counties in the country, including Los Angeles, California;

Cook County/City of Chicago; Maricopa, Arizona; San Diego, California; Dallas,

Texas; and Riverside, California. Of those six counties, five are using the

Dominion BMD. Declaration of Dr. E. Coomer, Ex. No. (4) at ¶5)”

      5.     The statement implied that BMDs were the primary method of voting,

but my research of official government election websites and Verified Voting’s

website showed that hand marked paper ballots (including both in person and vote-

by-mail ballots) were the primary method of voting in all but one of those counties

in 2020. I have attached my research worksheet as Exhibit 1.

      6.     Exhibit 2 is a true and correct copy of voting system maps from

Verified Voting showing the November 2020 election day voting methods in the

six counties that Dr. Coomer referred to. Two of the counties used Dominion

BMDs only for accessibility and two for all in person voters. Los Angeles County

used the Voting Solutions for All People (VSAP) BMD and Dallas County, TX,

used ES&S equipment.

      7.     I have made it a habit to vote by absentee ballot if at all possible so

that I am using a more secure hand marked paper ballot. However, voting by

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absentee ballot can be a fraught process, as I previously discussed in my

declaration filed 2/12/2021 (Doc. 1071-7).

      8.     The U.S. mail has become more unreliable in my residential area and

in order to assure timely and secure delivery of my application and my ballot, I

generally drop them off at the DeKalb election office in person. This involves two

round trips of 8 miles each way and usually about 40 minutes to an hour for the

round trip. This additional cost of time and money to secure my ballot is

considerable when compared to the convenience and speed with which I can vote

in-person at my precinct which is less than a mile and a half from my home.

      9.     As required by SB202, the absentee ballot application and ballot both

contain personally identifiable information, including full birthdate and driver’s

license number. The new envelope for return of a ballot does not seal completely,

potentially exposing this sensitive information. I do not want to be the victim of

identity theft so I go to the extra effort of hand delivering my application and

ballot. The last time I returned my ballot in person, the helpful election staffer

used tape to seal it for me.

      10.    The exposure of this personally identifying information on absentee

ballot envelopes along with the cumbersome multi-step process of applying for,




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voting and submitting mail ballots are all additional difficulties I have been willing

to tolerate to avoid voting on the insecure BMD system.

      11.    In every election I monitor the progress of my application and my

ballot processing to watch for any delays or problems so that I’m sure that I can

cast a ballot. This means that I check the MVP site on the Secretary of State’s

website multiple times in each election, given the risk of error and delay that is

known to occur in mail ballot processes.

      12.    For example, although I was on the 65+ voter “rollover list,” meaning

my absentee request was already in the system prior to any ballots being sent, my

absentee ballot failed to arrive for the December 6, 2022 Senate Run Off. On

November 21, 2022 I received an email from DeKalb County Elections, replying

to my inquiry, saying that my ballot was being mailed that day. The same day, I

received a BallotTrax email also saying that my ballot was on its way. I checked

my mailbox for nine days but received no ballot. On December 1, 2022, I sent an

email to DeKalb Elections asking for more information about where the ballot had

been mailed from, saying I had not yet received it. I received no reply, nor my

ballot, and I had to vote on a ballot marking device on Election Day, December 6,

2022, having cancelled my ballot at the polls for nonreceipt.




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       13.   When I had to cancel my purportedly issued but not received mail

ballot for non-receipt, I was relieved to learn that no one had attempted to vote my

ballot which had gone astray. The risk of a stolen and voted ballot is higher than in

years before because of SB202’s removal of signature verification, and instead,

requiring the voter’s full birthdate and driver’s license number on the envelope.

This could permit anyone with my driver’s license number and birthdate to

successfully return my ballot if it had gone astray.

       14.   After learning that Logan Lamb discovered that the SOS/KSU server

had exposed all voters’ drivers’ license numbers, birthdates and other personal

information on the internet for over 7 months (Doc. 258-1 ¶¶ 11-16), I became

aware that my personal data along with 5 million other voters had been

compromised. This subjects me to risk of identity theft and mail ballot theft. This

is yet another risk of voting by mail ballot in Georgia. It is a risk I evaluate as a

more personally manageable than the risk of BMD voting system manipulation or

failure.

       15.   I spent scores of hours assisting in litigation research efforts for the

background of the Coffee County breach discovery as one of my volunteer efforts

for CGG in its challenge of the BMD system. I am familiar with the breach

activities and the experts’ opinions on the elevated risk to the entire statewide

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system, particularly for the unauditable BMD portion of the system used in in-

person voting. What I have learned makes my decision to continue to vote by mail

ballot even more compelling.

      16.    I enjoyed the shared experience of voting in my community—seeing

other voters, getting my “I voted” sticker to wear, and showing it on social media

to remind others to go to the polls. In most elections I give up the social and

associational benefits of voting in person because of my knowledge that my vote is

more secure and private on an absentee ballot.

      17.     When I did vote by BMD on December 6, 2022, the poll worker did

not remind me to check my printout selections.

      18.    Similarly when I had to vote in person in the December 1, 2020 run

off election, the poll worker did not remind me to check my printout selections.

      19.    This past election in 2022, I checked my single contest machine

printed ballot. However, I knew that it was the QR code, not the printed text, that

would be tabulated. It is a frustration to cast a vote that I cannot read because it is

encoded in the QR code.

      20.    As Georgia’s new Dominion voting system was being rolled out, I

went to several demonstrations of the equipment. At one demonstration I

videotaped someone making selections on the BMD touchscreen. It was very easy

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to see the darkened bar on the bright screen from a distance as the voter made her

selection and the selected bar associated with the vote choice darkened. My

personal observation in polling places is that it can be very easy to read the words

on the touchscreen from a distance. However, one can discern from an even greater

distance which position on the touchscreen ballot display the voter selects because

the entire bar is highlighted. Once an observer is familiar with the ballot display

layout, it is simple to discern from a distance how someone is voting. Exhibit 3 is

a set of still shot photographs from my video.

      21.     It is my understanding from attending the rule-making session of the

SEB and reading the rules, that the official vote on my absentee mail ballot is the

choice adjacent to the oval which I have filled in. That is clear, and I know that is

the permanent record of my vote to be counted in machine and manual tabulations.

      22.    I have assisted a number of voters with questions or problems with

absentee ballots through my volunteer work with Coalition for Good Governance.

In Georgia’s last election cycle I spent time helping an older DeKalb voter who

reached out to CGG for assistance. The voter was out of state and hadn’t received

her absentee ballot for the November 2022 General Election. She and I jointly

spoke on the phone with helpful staff at DeKalb elections, who apparently mailed a

replacement ballot, but it was not received by the voter. I helped her again for the

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December 2022 Run Off for which she was still out of state. This is the kind of

voter assistance work that CGG would like to do more of, but does not have the

resources to do so because of the work required for the challenge to the BMD

system.

      23.    If not for all the time spent assisting with litigation, I would enjoy

doing more direct assistance to voters and work on voter education. CGG

Executive Director Marilyn Marks has asked me to track my volunteer hours but I

have not been good about doing it, particularly since my time is my own and I fit

in the work whenever I can. I estimate I have spent many hundreds of hours,

probably more than 30 hours per month, primarily researching and gathering

evidence for the Curling case.

      24.    As a member and volunteer of CGG, I have searched through

discovery documents to provide information to attorneys, assisted with research on

the Coffee County breach, and brainstormed with fellow CGG volunteers. I have

observed elections and audits, I have attended or remotely monitored and recorded

State Election Board meetings, press conferences, county board of elections

meetings, made public comments on the lack of ballot secrecy with voting

touchscreens, and other litigation-related issues. I have spent hours searching




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election meeting transcripts, and listening to and cleaning up transcripts related to

topics covered by the litigation or other challenges to the BMD system.

      25.    In my declaration Doc. 1569-44 at 83-84 I related some of my

experiences observing at the Fulton County risk limiting audit on November 17,

2022. My experience was that access to observe data entry into the Arlo system

was not possible at the Fulton RLA. This is consistent with November 22, 2022

Carter Center preliminary report, which found that, in about half the counties, “it

appeared that little thought was given to the role of transparency of data entry in

building confidence in the process.”

(https://www.cartercenter.org/resources/pdfs/news/peace_publications/democracy/

risk-limiting-audit-preliminary-statement-2022.pdf )(page 4). The Carter Center

report goes on to state on page 4, “Data entry should be clearly visible to monitors

so they can confirm that tally sheets are accurately entered. Human data entry of

numbers is notoriously error-prone, and all data entry should be observed as well

as checked by a second election worker.”

      26.    All these hours of activity in support of litigation efforts are hours I

could have spent working on other CGG projects we have discussed such as

holding webinars for candidates or working on policy issues with legislators and

others, but CGG has had to put plans on hold to prioritize the litigation.

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Percentage Hand Marked Paper Ballots November 2020

To conservatively estimate % of disabled voters who may have used BMDs in cases where BMDs are only used for
accessibility, I used 13% which is percentage of voters who are disabled.
ABOUT 13% of voters have disabilities per p3 of EAC fact sheet accessed at
https://www.eac.gov/sites/default/files/document_library/files/Fact_sheet_on_disability_and_voter_turnout_in_2020_0.

                       total of all      # BMD
                                                                      % HMPB
  Jurisdiction         ballots           ballots        total HMPB                  source links
                                      21.06% in
                     4,338,191                       VBM 3,424,426    > 78.94%   https://results.lavote.gov/#year=2020&election=4193
  LA County (CA)                      person

                                                                                 https://www.cookcountyclerkil.gov/sites/default/files/p
                     1,188,017        est. 94,605    est. 1,093,412   > 98%      dfs/Post-Election%20Report%20%20-
                                                                                 %20%20110320.pdf
  Cook County (IL)




                                                                                 https://elections.maricopa.gov/asset/jcr:f0e64083-5801-
                                                                                 4077-8675-07a8ba475c43/11-03-2020-
                                      est. less than
                                                                                 0%20Canvass%20COMPLETE%20NOV2020.pdf
                     2,089,563        13% of in-     est.             > 87%
                                                                                 https://www.azmirror.com/blog/arizonas-polling-
                                      person voters
                                                                                 infrastructure-is-all-paper-ballots-even-for-those-with-
                                                                                 disabilities/

  Maricopa County
  (AZ)

                                                                                 https://www.livevoterturnout.com/SanDiego/LiveResul
  San Diego County 1,627,753          189,593        1438160 (VBM)    > 88%
                                                                                 ts/en/Index_10.html
  (CA)

                                      847, 558 =
                                      118,670 ED +
                                                                                 https://assets01.aws.connect.clarityelections.com/Asse
                                      728,888 early
                                                                                 ts/Connect/RootPublish/dallas-
                                      in-person.    VBM 78,147;
                     926,518                                          < 8.5%     tx.connect.clarityelections.com/ElectionDocuments/20
                                      (most in      813 provisional
                                                                                 20/201103%20General%20Joint/Dallas%20County%20Fi
                                      person voters
                                                                                 nal%20Canvass%20Cum%20WOverUnder%20Total.pdf
                                      use new ES&S
  Dallas County                       BMD)
  (TX)
                                                                                 download VBM data at
                                                                                 https://www.sos.ca.gov/elections/voter-
                     1,016,896        109,028        907,868 (VBM)    > 89.28%
  Riverside County                                                               registration/vote-mail/vbm-nov2020-general-
  (CA)                                                                           election#hist
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https://verifiedvoting.org/verifier/#mode/navigate/map/ppEquip/mapType/normal/year/2020
/state/6/county/37
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/state/17/county/31
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/state/4/county/13
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/state/48/county/113
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/state/6/county/65
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Exhibit 3




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Screenshots of November 3, 2020 Presidential Election Original Vote Count and Recount
Sec. of State’ Election Results Website as of February 8, 2023




https://results.enr.clarityelections.com/GA/107231/web.264614/#/summary




https://results.enr.clarityelections.com/GA/105369/web.264614/#/summary
